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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

KHALID AHMED QASSIM,                            )
                                                )
                        Petitioner              )
                                                )
                  v.                            )                No. 04-cv-01194 (TFH)
                                                )
DONALD J. TRUMP, et al.,                        )
                                                )
                        Respondents.            )
________________________________________________)

                            PETITIONER’S MOTION IN LIMINE

       Petitioner Khalid Ahmed Qassim files this motion in limine to preclude respondents

Donald J. Trump, et al. (the “government”) from relying upon designated premises and

categories of evidence to support his detention. The reasons for this motion are set forth below.

                                          STATEMENT

       Although the adjudication of the present petition will be on a stipulated record of facts,

Qassim expects that the government will rely on certain premises and categories of evidence to

support his ongoing detention. Qassim submits that the government should be precluded from

relying on those premises and categories of evidence. Accordingly, Qassim requests a ruling

from the Court that, in conducting its review of Qassim’s petition, it will preclude the

government from supporting its ongoing detention of Qassim on the basis of the premises and

categories of evidence designated below.

       Qassim requests a ruling from the Court that the Court’s review of Qassim’s petition will

be conducted:




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               without regard to the premise that “the due process clause does not apply to

                aliens without property or presence in the sovereign territory of the United

                States” (Kiyemba v. Obama, 555 F.3d 1022, 1026 (D.C. Cir. 2009), vacated, 559

                U.S. 131 (2010), and judgment reinstated as amended, 605 F.3d 1046 (D.C. Cir.

                2010);

               without relying on any evidence obtained through coercion, and without denying

                Qassim access to information necessary to assess whether evidence was obtained

                through coercion and present an argument for its exclusion;

               without allowing the government to rely on any evidence (i) that was not

                provided in advance and in writing to Qassim, (ii) that was not accompanied by

                the full disclosure of all information in the government’s possession bearing on

                the weight, provenance, and accuracy of the evidence claimed to justify

                petitioner’s detention, or (iii) as to which Qassim had no opportunity to confront

                and to rebut by testifying and by presenting witnesses and documentary evidence;

               without permitting hearsay evidence absent a threshold showing that it is the

                most reliable evidence available;

               without according any presumption that the terms or contents of a document

                upon which the government relies are accurate (Latif v. Obama, 667 F.3d 1175,

                1179-1182 (D.C. Cir. 2011)); or

               without according any presumption that a document upon which the government

                relies accurately reflects the information received by military or government

                authorities from their non-governmental sources.




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                                           ARGUMENT

       A. This Motion in Limine Appropriately Raises Evidentiary Issues

       Although neither the Federal Rules of Civil Procedure nor the Federal Rules of Evidence

expressly contemplate motions in limine, the practice of allowing such motions has developed

and been accepted over time pursuant to the district court’s inherent authority to manage trials

and other evidentiary proceedings. Luce v. United States, 469 U.S. 38, 41 n. 4; Graves v.

District of Columbia, 850 F. Supp. 2d 6, 10 (D.D.C. 2011). A motion in limine may not be used

to resolve factual disputes or as a vehicle for a party to ask the court to weigh the sufficiency of

the evidence. Graves, 850 F. Supp. 2d at 10-11. “Rather, parties should target their arguments

to demonstrating why certain items or categories of evidence should (or should not) be

introduced” at the trial or other evidentiary proceeding. Id. at 11; accord, e.g., Stehn v. Cody, 74

F. Supp. 3d 140, 144 (D.D.C. 2014). A motion in limine is procedurally appropriate even if its

grant “would function as a dispositive motion, preventing [the non-movant] from presenting any

of his claims to a jury.” Johnson v. Williams, 584 F. Supp. 2d 97, 101 (D.D.C. 2008).

       Qassim’s motion in limine appropriately raises the issues of whether the government may

rely on certain premises and categories of evidence to support his ongoing detention. These are

evidentiary issues, touching upon what documents the government should be allowed to present

for consideration by the Court on Qassim’s habeas corpus petition. Qassim maintains that, as a

matter of constitutional law – specifically, the Due Process Clause – the Court should not permit

the government to rely on the above designated premises and categories of evidence. Although

the grant in full of Qassim’s motion would prevent the government from presenting many of its

claims purporting to justify Qassim’s ongoing detention, that does not render Qassim’s motion

“procedurally inappropriate.” Johnson, 584 F.Supp.2d at 101.




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       B. The Court Should Grant Qassim’s Motion Under the Due Process Clause

       Each of the rulings that Qassim requests in this motion rests on the Due Process Clause.

Even if “the due process clause does not apply to aliens without property or presence in the

sovereign territory of the United States”(Kiyemba, 555 F.3d at 1026), this rule cannot be applied

to the detainees at the U.S. Naval Base, Guantanamo Bay, Cuba, such as Qassim. In

Boumediene v. Bush, 553 U.S. 723, 769 (2008), the Supreme Court rejected the government’s

territorial rationale for not applying the Constitution at Guantanamo, holding that the detainees

who were brought there involuntarily were entitled under the Constitution to seek habeas corpus

relief because “[i]n every practical sense Guantanamo is not abroad; it is within the constant

jurisdiction of the United States.” See also Kiyemba, 555 F.3d at 1038 (Rogers, J., concurring)

(quoting Boumediene, 553 U.S. at 769).

       The Supreme Court also made clear in Boumediene that the habeas relief to which the

Guantanamo detainees are entitled must be “constitutionally adequate.” Boumediene, 553 U.S.

at 779. The detainees must be accorded a “meaningful opportunity” to challenge their detention.

Id. Without precisely defining that term, the Supreme Court noted that, even if Congress

legislated a substitute procedure for habeas corpus that “satisf[ied] due process standards,” id. at

785, that would not end its inquiry as to the adequacy of such a procedure. Fairly read,

Boumediene stands for the proposition that, at a minimum, Guantanamo detainees are entitled to

the procedural protections of the Due Process Clause in petitioning for habeas corpus relief.

       Although there is no justification for categorically denying the application of the Due

Process Clause to Guantanamo detainees in habeas corpus proceedings, due process is a flexible

concept, and it requires no more than what is warranted under the circumstances. At the very

least, Guantanamo detainees such as Qassim should be granted the roster of procedural




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protections which Morrisey v. Brewer, 408 U.S. 471 (1972) and Gagnon v. Scarpelli, 411 U.S.

778 (1973) given to persons charged with probation or parole violations. See also Sprecht v.

Patterson, 386 U.S. 605, 610 (1967) (due process rights given to convicted defendants in

recidivist-sentencing proceedings).

       Thus, Qassim should be entitled to “(a) written notice of the claimed [allegations]; (b)

disclosure . . . of evidence against him; (c) opportunity to be heard in person and to present

witnesses and documentary evidence; [and] (d) the right to confront and cross-examine adverse

witnesses (unless the hearing officer specifically finds good cause for not allowing

confrontation).” Morrisey, 408 U.S. at 489. Moreover, the Due Process Clause prohibits the

government from using evidence obtained from Qassim by coercive measures to support his

detention. Chavez v. Martinez, 538 U.S. 760, 774 (2003). It also prohibits the government from

denying Qassim the informational tools necessary to determine if coercive measures were used.

As the Supreme Court held in Boumediene:

       for the writ of habeas corpus, or its substitute, to function as an effective and
       proper remedy in this context, the court that conducts the habeas proceeding must
       have the means to correct errors that occurred during [earlier] proceedings. This
       includes some authority to assess the sufficiency of the Government’s evidence
       against the detainee. It also must have the authority to admit and consider
       relevant exculpatory evidence that was not introduced during the earlier
       proceeding. Federal habeas petitioners long have had the means to supplement
       the record on review, even in the post conviction habeas setting. . . . Here that
       opportunity is constitutionally required.

555 U.S. at 786. Disclosure of, and Qassim’s access to, information that would

effectuate these ends is a necessary corollary of this constitutional requirement.

       Finally, as the Supreme Court recognized in Hamdi v. Rumsfeld, 542 U.S. 507,

524-525 (2004), although the Due Process Clause would not be offended by allowing the

government to use hearsay evidence given the exigencies of an ongoing military conflict,




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that does not mean the government should be granted carte blanche to rely on hearsay as

a matter of course. The government should be required to make a good faith showing, by

declaration or otherwise, that hearsay is the most reliable evidence available.

       Based on these principles, the Court should grant Qassim’s motion in limine. It should

issue a ruling that (i) the government may not present, and the Court may not consider, evidence

obtained through coercion or evidence for which Qassim has not been provided access to

information necessary to assess whether the evidence proffered by the government was obtained

through coercion; (ii) the government may not present, and the Court may not consider, any

evidence that was not provided in advance and in writing to Qassim, was not accompanied by the

full disclosure of all information bearing on the weight, provenance, and accuracy of that

evidence, or as to which Qassim had no opportunity to confront and rebut;1 (iii) the government

may not present hearsay evidence absent a threshold showing that it is the most reliable evidence

available, (iv) the government may not be accorded any presumption that the terms or contents of

a document upon which it relies are accurate; and (v) the government may not be accorded any

presumption that a document upon which it relies accurately reflects the information received by

it from non-governmental sources. Such a ruling would be consistent with the applicable

requirements of the Due Process Clause.




1
 In this respect, Qassim notes that some of the evidence upon which the government relies to
support its ongoing detention of him consists of documents that are redacted in part or in full,
which have not been seen or read by Qassim or his counsel. It also includes at least one
document which the government provided to Qassim’s counsel very recently and apparently was
missing from the factual record previously provided by the government to Qassim’s counsel.
Due process requires a timely disclosure of all the evidence against Qassim and a fair
opportunity to challenge and rebut such evidence.


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                                         CONCLUSION

       For the foregoing reasons, petitioner respectfully requests that the Court grant his motion

in limine.

                                                     Respectfully submitted,

                                                     /s/ Thomas B.Wilner
Clive Stafford Smith                                 Thomas B. Wilner
Shelby Sullivan-Bennis                               Neil H. Koslowe
Reprieve US                                          Kimberly Ferguson
405 Lexington Avenue, Suite 62                       Shearman & Sterling, LLP
New York, NY 10174                                   401 9th Street, N.W., Suite 800
Telephone: 401-885-4214                              Washington, DC 20004
E-mail: clive.stafford.smith@reprieve.org.uk         Telephone: 202-508-8050
E-mail: shelby.sullivan-bennis@reprieve.org          E-mail: twilner@shearman.com
                                                     E-mail: nkoslowe@potomaclaw.com
                                                     E-mail: kimberly.ferguson@shearman.com

                       Attorneys for Petitioner Khalid Ahmed Qassim

                                CERTIFICATE OF SERVICE

       I certify that today, February 14, 2018, I served the foregoing Petitioner’s Motion in

Limine on all parties by causing it to be filed with the Court’s CM/ECF system, which

automatically will generate a copy that is transmitted to counsel of record.


                                         Neil H. Koslowe
                                         Neil H. Koslowe
                                            Attorney.




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